                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF IOWA
                                CENTRAL DIVISION



 UNITED STATES OF AMERICA,
                Plaintiff,                                  No. CR 05-3005
 vs.                                               ORDER REGARDING
                                              MAGISTRATE’S REPORT AND
 JULIE GREIMANN,                                   RECOMMENDATION
                                               CONCERNING DEFENDANT’S
                Defendant.                            GUILTY PLEAS
                                 ____________________


                       I. INTRODUCTION AND BACKGROUND
        On April 13, 2005, a two-count Superseding Indictment was returned against the
defendant Julie Greimann. On April 19, 2005, the defendant appeared before United
States Magistrate Judge Paul A. Zoss and entered pleas of guilty to Counts 1 and 6 of the
Superseding Indictment.       On April 19, 2005, Judge Zoss filed a Report and
Recommendation in which he recommended that defendant’s guilty pleas be accepted. No
objections to Judge Zoss' Report and Recommendation were filed. The court, therefore,
undertakes the necessary review of Judge Zoss' recommendation to accept defendant’s
pleas in this case.


                                      II. ANALYSIS
        Pursuant to statute, this court’s standard of review for a magistrate judge’s Report
and Recommendation is as follows:
               A judge of the court shall make a de novo determination of
               those portions of the report or specified proposed findings or
               recommendations to which objection is made. A judge of the
               court may accept, reject, or modify, in whole or in part, the

       Case 3:05-cr-03005-LRR-JSS       Document 99      Filed 05/04/05    Page 1 of 2
              findings or recommendations made by the magistrate [judge].

28 U.S.C. § 636(b)(1). Similarly, Federal Rule of Civil Procedure 72(b) provides for
review of a magistrate judge’s Report and Recommendation on dispositive motions and
prisoner petitions, where objections are made, as follows:
              The district judge to whom the case is assigned shall make a de
              novo determination upon the record, or after additional
              evidence, of any portion of the magistrate judge’s disposition
              to which specific written objection has been made in
              accordance with this rule. The district judge may accept,
              reject, or modify the recommended decision, receive further
              evidence, or recommit the matter to the magistrate judge with
              instructions.
FED. R. CIV. P. 72(b).
      In this case, no objections have been filed, and it appears to the court upon review
of Judge Zoss' findings and conclusions, that there is no ground to reject or modify them.
Therefore, the court accepts Judge Zoss' Report and Recommendation of April 19, 2005,
and accepts defendant’s pleas of guilty in this case to Counts 1 and 6 of the Superseding
Indictment.
      IT IS SO ORDERED.
      DATED this 4th day of May, 2005.




                                            2

    Case 3:05-cr-03005-LRR-JSS         Document 99      Filed 05/04/05    Page 2 of 2
